                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS

 DEBORAH LAUFER,                           §
 Individually,                             §
                                           §
        Plaintiff,                         §
                                           §
 v.                                        §    Civil Action No. 1:20-CV-00588-RP
                                           §
 GALTESVAR OM, LLC,                        §
                                           §
        Defendant.                         §



         DEFENDANT’S MOTION FOR PROTECTIVE ORDER AND
                       MOTION TO STAY


      Defendant Galtesvar OM, LLC (“Defendant”) moves for protective order and

motion to stay, respectfully showing the Court as follows:

      Plaintiff has a pending Motion to Dismiss Plaintiff’s lawsuit based on a lack of

standing, which has been referred to Magistrate Judge Lane. Since the completion of

briefing on that Motion to Dismiss, the Honorable Judge James R. Nowlin found that

Plaintiff did not have standing in a case before him, and he granted an identical

motion to dismiss in Deborah Laufer v. Mann Hospitality, LLC, Cause No. A-20-CV-

00620-JRN. The Mann Hospitality case involved the same allegations, the same

Plaintiff and essentially the same defendant hotel in a different location. Plaintiff has

stated that she plans to appeal the Mann decision to the Fifth Circuit.

      Given the now persuasive—if not binding authority—in support of finding

Plaintiff lacks standing and an award of attorneys’ fees in favor of counsel for the


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Defendant in Mann, counsel for Defendant suggested that the parties stand-down on

discovery and other work on the case so as not to burden Defendant or potentially

result in a greater award of attorneys’ fees against the Plaintiff if this Court were to

follow Judge Nowlin’s decision and make such an award. Plaintiff, however, has

refused this reasonable proposal.

      Accordingly, Defendant brings this Motion to avoid further expense. Even if

Defendant may recover a judgment of attorneys’ fees against Plaintiff, there is no

certainty that she has sufficient assets to satisfy such an award. Moreover, there is

no prejudice to Plaintiff to delay discovery and the other deadlines in the case while

a ruling on the Motion to Dismiss is rendered.

A.    Applicable Legal Principles.

      Federal Rule of Civil Procedure 26 provides that a court may, for “good cause,

issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” FED. R. CIV. P. 26(c)(1). A court may afford

that protection by, among other things, forbidding the discovery or specifying the

terms, including the time and place, for the discovery. FED. R. CIV. P. 26(c)(1)(A)-(B).

B.    The Court Should Protect Defendant From Incurring Further
      Expense Where Plaintiff Has Been Found Not to Have Standing.

      Defendant invokes Rule 26 and “good cause” based on the finding by Judge

Nowlin that Plaintiff had no standing in a nearly identical case in this very district.

Accordingly, Defendant reasonably asks that the Court issue an order to protect it

from the “undue burden or expense” of responding to discovery, such as Plaintiff’s

Requests for Interrogatories and Requests for Production dated October 7, 2020 (the

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“October 7 Discovery”) and other deadlines in the Scheduling Order pending

Magistrate Lane’s ruling on Defendant’s Motion to Dismiss this lawsuit for Plaintiff’s

lack of standing. This Court has the power pursuant to Rule 26 to afford the

protection requested by staying the October 7 Discovery and the other deadlines in

the scheduling order until resolution of the Motion to Dismiss by Magistrate Judge

Lane and approved by Judge Pittman. FED. R. CIV. P. 26(c)(1)(A)-(B).

                                     CONCLUSION

      For the reasons stated above, Defendant requests that the Court grant

Defendant’s Motion for Protection and Motion for Stay, protecting Defendant from

the October 7 Discovery, and staying all discovery and other deadlines in the

scheduling order until resolution of the Motion to Dismiss by Magistrate Judge Lane

and approval of that recommendation by Judge Pittman along with such other and

further relief to which Defendant may be entitled.



DATED: November 5, 2020
                                              Respectfully Submitted,

                                              /s/ Edward Jason Dennis
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                                              ATTORNEY FOR DEFENDANT

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                      CERTIFICATE OF CONFERENCE


      Consistent with Local Rule CV-7(f), the parties have conferred in good faith
regarding the substance of this Motion but have been unable to resolve the issues
presented by agreement. Plaintiff opposes any protection or stay. Accordingly, the
Motion is submitted for the Court’s determination.


                                     /s/ Edward Jason Dennis
                                     Edward Jason Dennis




                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument has

been served on this day November 5, 2020, via the Court’s ECF system to all counsel

of record.

                                     /s/ Edward Jason Dennis
                                     Edward Jason Dennis




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